  Case: 1:18-cv-05369 Document #: 146-1 Filed: 06/04/20 Page 1 of 3 PageID #:3819




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    UBIQUITI INC., f/k/a Ubiquiti Networks,
    Inc.,


                           Plaintiff,

                   v.                                  Civil Action No.: 1:18-cv-05369

    CAMBIUM NETWORKS, INC.;                            JURY TRIAL DEMANDED
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                                Hon. J. Gary S. Feinerman
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV,

                           Defendants.


    DECLARATION OF JON V. SWENSON IN SUPPORT OF DEFENDANTS’
   OPPOSITION TO PLAINTIFF UBIQUITI INC.’S MOTION TO COMPEL DE-
DESIGNATION OF DEFENDANTS’ ATTORNEYS’ EYES ONLY PRODUCTION AND
                         FOR SANCTIONS


I, Jon V. Swenson, declare and state as follows:

        I am counsel for Defendants Cambium Networks, Inc. (“Cambium”) and Cambium

Networks, Ltd., Blip Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry

Moiseev (collectively the “Defendants”). I have personal knowledge of the facts set forth in this

declaration and, if called to testify as a witness, could and would testify to the following under

oath.

        1.     Defendants’ initial production contained 61,957 documents with the following

designations: 84 documents were not designated as confidential, 3,657 documents were designated

as “Outside Attorneys’ Eyes Only – Confidential Source Code”, and 58,216 documents were

designated as “Confidential Restricted – Attorneys’ Eyes Only.”


                                                   1
  Case: 1:18-cv-05369 Document #: 146-1 Filed: 06/04/20 Page 2 of 3 PageID #:3820




       2.      Plaintiff to date has produced 84 documents in this case.

       3.      Exhibit 1 is a true and correct copy of an email correspondence thread between

counsel for Defendants and Ubiquiti.

       4.      Exhibit 1 contains a true and correct copy of an email Andrew Wilson, counsel for

Defendants, sent to counsel for Plaintiff on June 2, 2020. A spreadsheet identifying all documents

that were not designated as “Confidential Restricted – Attorneys’ Eyes Only” by bates number and

designation was attached to that email.

       5.      Exhibit 2 is a true and correct copy of an email I sent to counsel for Plaintiff on

September 26, 2019 containing information Ubiquiti requested in order to allegedly prepare a

settlement demand. Despite providing this information over eight months ago, Defendants have

still not received any settlement demand from Ubiquiti.

       6.      A true and correct copy of a letter Steve Reynolds, counsel for Plaintiff, sent to

counsel for Defendants on May 8, 2020 is attached hereto as Exhibit 3.

       7.      On June 2, 2020, the parties met and conferred telephonically. Defendants agreed

to re-designate four of the documents that Plaintiff identified in Exhibit A to its Motion.

       8.      A true and correct copy of an email Karina Smith, counsel for Defendants, sent to

counsel for Plaintiff on June 3, 2020 is attached hereto as Exhibit 4.

       9.      Exhibit 5 is a compilation of, and summary description of, portions of the highly

confidential documents of Defendant Cambium that Ubiquiti attached to its Motion to Compel De-

Designation as Exhibit B.

       10.     Exhibit 6 is a transcript of the parties’ proceedings before the Honorable Judge

Feinerman on December 9, 2019 at 9:30 a.m.




                                                 2
  Case: 1:18-cv-05369 Document #: 146-1 Filed: 06/04/20 Page 3 of 3 PageID #:3821




       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this declaration is executed the 4th day of June 2020 in San Carlos,

California.


                                                 /s/ Jon V. Sweson
                                                 Jon V. Swenson




                                                3
